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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 BERNIECE A. BURSH,

 Plaintiff,                                           Case No. 5:19-cv-00196-OLG

 v.                                                   Honorable Judge Orlando L. Garcia

 SECURITY SERVICE FEDERAL CREDIT
 UNION, EQUIFAX INFORMATION
 SERVICES, LLC and TRANSUNION LLC ,

 Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        NOW COMES BERNIECE A. BURSH (“Plaintiff’), by and through her attorneys,

SULAIMAN LAW GROUP, LTD., and, in support of her Notice of Voluntary Dismissal with

Prejudice, state as follows:

        Plaintiff, pursuant to settlement and Federal Rule of Civil Procedure 41(a) (1)(A)(i),

hereby voluntarily dismisses her claims against the Defendants, SECURITY SERVICE

FEDERAL CREDIT UNION and EQUIFAX INFORMATION SERVICES, LLC, only, with

prejudice. Each party shall bear its own costs and attorney fees.

Dated: May 23, 2019

                                              Respectfully Submitted,

                                              /s/ Taxiarchis Hatzidimitriadis
                                              Taxiarchis Hatzidimitriadis, Esq. #6319225
                                              Counsel for Plaintiff
                                              Admitted in the Western District of Texas
                                              Sulaiman Law Group, Ltd.
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                                                  thatz@sulaimanlaw.com



                                 CERTIFICATE OF SERVICE
       I, the undersigned, hereby certify that on May 23, 2019, a true and correct copy of the

above and foregoing document was filed with the Court via CM/ECF and served on all parties

requested electronic notification.



                                           /s/ Taxiarchis Hatzidimitriadis
                                           Taxiarchis Hatzidimitriadis
